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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

REV. XIU HUI “JOSEPH JIANG,                  )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )       Case No. 4:15-cv-01008 CEJ
                                             )
TONY LEVETTE PORTER,                         )
JAIMIE D. PITTERLE,                          )
CITY OF ST. LOUIS, MISSOURI                  )
A.M.,                                        )
N.M.,                                        )
SURVIVORS NETWORK OF THOSE                   )
 ABUSED BY PRIESTS,                          )
DAVID CLOHESSY and                           )
BARBARA DORRIS                               )
                                             )
       Defendants.                           )


                        DEFENDANT N.M.’S MOTION TO STRIKE


       In Plaintiff’s Memorandum in Opposition to N.M’s Motion to Dismiss, Plaintiff makes

multiple statements that are patently false and attributes them to being admissions of N.M. from

her pleadings. Plaintiff alleges that N.M. admitted in her Motion to Dismiss that she targeted

Plaintiff because he was an easy target (P. Memorandum 7). Plaintiff further alleges that

Plaintiff confirmed in her motion to dismiss that she intended to extort money from Plaintiff’s

employer (P. Memorandum 12). These statements in Plaintiff’s Memorandum are at best,

reckless, and at worst, unethical mischaracterizations of N.M.’s Motion to Dismiss and must be

stricken.

       In N.M.’s Motion to Dismiss Plaintiff’s Petition N.M. stated that:




                                                 1
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                       [Plaintiff] alleges that upon information and belief, N.M.
               targeted Plaintiff because he was a Catholic priest and therefore an
               easy target (P. Complaint ¶ 34).

(N.M. Motion to Dismiss 5). She further stated that:

               Here, Plaintiff alleges (wrongly) that N.M. chose to accuse
               Plaintiff because he was an easy target – not because she was
               discriminating against a particular class of people. Plaintiff has
               failed to plead any racial animus on the part of N.M. and therefore
               his claim must fail.


(N.M. Motion to Dismiss 6).

       Brazenly, and improperly, Plaintiff reported those lines as follows in his motion:

               Thus, N.M.’s insistence that she targeted Plaintiff because he ‘was
               an easy target’ does not preclude her from also having acted from
               discriminatory animus. Plaintiff certainly agrees that N.M. acted in
               part out of base, monetary motivations…
                      N.M’s argument that she accused Plaintiff because he ‘was
               an easy target’ fails for a second reason.

(P. Memorandum 7). This is a blatant mischaracterization of N.M’s statements done for

Plaintiff’s self-serving purposes. Basically, N.M. was making a legal argument that Plaintiff had

not properly pled a discriminatory purpose and Plaintiff turned it around to say that N.M. admits

she purposely targeted Plaintiff with a false claim in this case. That’s a big mischaracterization.

       In case that was a mistaken mischaracterization, Plaintiff did it again in his

Memorandum. In her Motion to Dismiss, N.M. stated the following:

               To the contrary, here, Plaintiff alleges that N.M.’s intent was to
               harm the Archdiocese, not Plaintiff. Even though it is false that
               N.M. had intent to harm the Archdiocese, Plaintiff’s allegation that
               this was N.M.’s goal is prohibitive to a claim of intentional
               infliction of emotional distress against her for harming Plaintiff.


(N.M. Motion to Dismiss 9-10).

       In his motion. Plaintiff turned this around to say:

                                                 2
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               N.M. argues that she cannot be liable for IIED because – in
               addition to intending to inflict severe emotional distress – she also
               intended to extort money from Plaintiff’s employer. (Doc. 32, at
               8). Citing Thomas v. Special Olympics Missouri, Inc 31, S.W. 3d
               442 (Mo.App. W.D. 2000), N.M. contends that she can avoid
               liability because her extortionate intent immunizes her
               contemporaneous intent to harm Plaintiff.

(P. Memorandum 12-13). Plaintiff’s statement above claims that N.M. admits she intended to

inflict severe emotional distress and that she also admits she intended to extort money from the

Archdiocese. She absolutely did not admit this or do it.

       The above statements must be stricken from Plaintiff’s pleading as they mischaracterize

N.M.’s arguments in such a way that it looks like she admits that she falsely accused Plaintiff of

abusing her son. She does not believe this and never said such a thing. This case is a very public

one and even if the Court understands that these are mischaracterizations, the public may not and

the record must be corrected.

       WHEREFORE, N.M. requests that the above statements in Plaintiff’s Memorandum in

Opposition to N.M.’s Motion to Dismiss be stricken from the pleading.



                                              Respectfully submitted,

                                              CHACKES, CARLSON & GOROVSKY, LLP



                                              /s/Nicole E. Gorovsky_____________
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on this 28th day of September, 2015 the foregoing Motion

to Strike was filed electronically with the Clerk of Court, therefore to be served electronically by

operation of the Court’s electronic filing system, upon the Attorney for Plaintiff, D. John Sauer,

and the Attorney for Defendants Porter, Pitterle, and City of St. Louis, J. Brent Dulle.

                                               /s/ Nicole E. Gorovsky______




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